Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 1 of 8
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 2 of 8
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 3 of 8
                         Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 4 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     4     of       8
DEFENDANT: THOMAS ROBERTSON
CASE NUMBER: 21-CR-34-1 (CRC)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:


 36 months to be served concurrently on Counts 1ss, 2ss, 3ss, 4ss and 6ss.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    G  You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    G You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 5 of 8
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 6 of 8
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 7 of 8
Case 1:21-cr-00034-CRC Document 140 Filed 08/17/22 Page 8 of 8
